Case 1:24-cv-03051-RDM   Document 25-7   Filed 05/06/25   Page 1 of 3




                     EXHIBIT 7
                Case 1:24-cv-03051-RDM             Document 25-7         Filed 05/06/25        EXHIBIT
                                                                                               Page 2 of 73


                                                                           Travis Pittman <jtpittman@hphattorneys.com>



RE: VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051; Rich Inza, et al. v.
AT&T, Inc. et al, Case No. 1-24-cv-03054
1 message

Culley, Daniel P. <dculley@cgsh.com>                                                          Thu, May 1, 2025 at 10:56 AM
To: Travis Pittman <jtpittman@hphattorneys.com>
Cc: "Gelfand, David I." <dgelfand@cgsh.com>, "Bennett, Elsbeth" <ebennett@cgsh.com>


 Mr. Pittman:



 Per my email to you dated March 3, 2025, Cleary is only authorized to accept service on behalf of Mark Nelson or Mike
 Sievert. Cleary is not authorized to accept service on behalf of any other defendant.



 That said, if you send a copy of the operative complaint(s) you are attempting to serve as an email attachment, we will
 communicate with Mark Nelson, Mike Sievert, and T-Mobile to determine whether they will agree to waive service under
 Fed. R. Civ. P. 4(d)(3).



 Please note that we do not believe your letter dated April 23, 2025 validly effects service even as to Mark Nelson or Mike
 Sievert, including because you did not send a copy of the operative complaint(s) you are attempting to serve. Accordingly,
 we reserve all rights regarding service at this time.



 Best,



 Dan




 —
 Daniel P. Culley | Lawyer, District of Columbia

 Cleary Gottlieb Steen & Hamilton LLP
 Assistant: alancellotti@cgsh.com
 2112 Pennsylvania Avenue, NW
 Washington, DC 20037
 T: +1 202 974 1593 | M: +1 216 544 8635
 dculley@cgsh.com | clearygottlieb.com




 From: Travis Pittman <jtpittman@hphattorneys.com>
 Sent: Wednesday, April 23, 2025 4:21 PM
 To: Culley, Daniel P. <dculley@cgsh.com>
 Subject: VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051; Rich Inza, et al. v. AT&T, Inc. et al,
 Case No. 1-24-cv-03054
                                                                                                                           Case 1:24-cv-03051-RDM                                                                                                 Document 25-7   Filed 05/06/25   Page 3 of 3
Dea M Cul ey   ease see he at ached le te e ec ing se vice o p ocess in the above e e enced cases   av s i tman --   avis i tman Ho mes   ttman & Ha aguchi   j pi tman@ hphat o neys com 202) 329-3558 ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍ ‍




Dear Mr. Culley,



Please see the attached letter, effecting service of process in the above referenced cases.




Travis Pittman

--

Travis Pittman

Holmes Pittman & Haraguchi, LLP

jtpittman@hphattorneys.com

(202) 329-3558



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with equivalent standing and qualifications of Cleary Gottlieb.

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